CaSe 1-18-46388-nh| DOC 1 Filed 11/01/18 Entered 11/01/18 13201216

 
 

CL rq"\ ,-
' U. Q BA%J"\RJ‘“TC\ 93 ,;“
Fi|l in this information to identify your case: §ASTER§ DlSTR{CT Cl‘
\!r'ui \.IGQ .\:_={\

 

United States Bankruptcy Court for the:

Eastern District of New York

hapter7
l hapler11
Cl Chapter 12 ` . . .
D chapiema ‘ |;l Check if this is an

amended filing

 

Case number (/rknown): Cha er you are filing under: y
’___°___ C g
C

 

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor1 in all of the forms.

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

1. Your full name

Write the name that is on your C|_,l/W ( W Q/
government-issued picture F
identification (for example, "St nam?_>¢ 5 ab

your driver’s license or

passport). whille me it | l~ (E Middle name
Bring your picture jf b 1 h C @ '

identification to your meeting Last name Last name
with the trustee.

AboutDebtor1: v l About Debtor 2 (Spouse On|y in a Joint Case'j": _ '

First name

  

 

Sufl'i)< (Sr., Jr., l|, l|l) Suffi)< (Sr., .lr., ll, lll)

 

2. AlI other names you § M\" €,

have used in the last 8 First name

First name
years < 'H/M Q
lnclude your married or Middle name W ' ‘ Middle name
maiden names. g …\'/l Q./ .4 ',"

 

 

 

 

Last name f Last name
First name First name
Middle name Middle name
Last name ‘ Last name

 

 

3. Only the last 4 digits of l 3 1
your Socia| Security XXX _ Xx _ -O_ _<0_ 1 ' XXX _ XX ~ ___ ____ __ _

number or federal OR OR

lndividual Taxpayer w

identification number 9 XX ‘ Xx ___ __ __ __ 9 XX '" XX ___ __ ___ ___
(lTlN) ’

 

 

Official Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 1

 

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Clj(lii~llim mile _llin\/

 

 

 

 

First Name Mid`dle Name Last Name
AboutDebtor1: v About Debtor 2 (Spouse Only in a Joint Case):l
4. Any business names D/
and Employer l have not used any business names or Ele. m l have not used any business names or Ele.

|dentification Numbers
(E|N) you have used in

 

the last 8 years Business name

lnclude trade names and

 

Business name

 

doing business as names Business name

FN_

'ETi\i_`

 

Business name

M_

H_

 

5. Where you live

HBB l\lQl/U LO+\S law

 

lf Debtor 2 lives at a different address:

 

 

 

 

 

 

 

Number Street Number Street
1b M City \J) </:l/\ S\ ate ZlP Code ' ' City State ZlP Code
County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

§7…@

` lf Debtor 2’s mailing address is different from

yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

 

 

Number Street Number Street
P.O. Box 3 m/l P.O. Box
City State ZlP Code . City State ZlP Code
s. Why you are choosing Chec one.' . Check one:
this district to file for . _ . . . . . .
bankruptcy Over the last 180 days before filing this petition, m Over the last 180 days before filing this petitionl

l have lived in this district longerthan in any
other district.

m l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

l have lived in this district longerthan in any
other district.

m l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 2

 

7.

Case 1-18-46388-nh|

eeeC/iilpr)tili‘/ve ’Ini\)u` Hi<le\/|) €W

Middle Name

First Name ‘

The chapter of the
Bankruptcy Code you
are choosing to file
under

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l

Last Name l

m Tell the Court About Your Bankruptcy Case

Check 'ne. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividua/s Filing
for nkruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

hZ£Jja:pter 7
Cl Chapter 11
Cl Chapter 12

Cl Chf§pter 13

 

How you will pay the fee

‘~E{will pay the entire fee when l file my petition. P|ease check With the clerk’s oche in your
local court for more details about how you may pay. Typical|y, if you are paying the fee
yourself, you may pay With cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalfl your attorney may pay with a credit card or check
With a pre-printed address.

Cl l need to pay the fee in installments. lf you choose this option, sign and attach the
App/ication for lndividuals to Pay The Filing Fee in /nsta//ments (Of'Hcial Form 103A).

Cl l request that my fee be waived (You may request this option only if you are Hling for Chapter 7.
By lawl a judge may, but is not required tol Waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must Hll out the App/icat/'on to Have the
Chapter 7 Filing Fee Waived (Ofticial Form 1035) and Hle it With your petition.

 

 

Have you filed for
bankruptcy within the
last 8 years?

Cl Yes. District When

MM/ DD/YYYY

Case number

 

 

 

 

 

 

 

 

 

District When Case number §
MM/ DD/YYYY j
; District When Case number §
3 4 MM/ DD/YYYY

/'

§

§ 10. Are any bankruptcy NO §
` § cases pending or being §
§ filed by a spouse who is m Yes. Debtor Relationshipto you §
§ not f'|mg th|s ca_se w'th District When Case numberl if known §
§ yOU, Or by a business iviivi/DD /YYYY ' §
3 partner, or by an §
affiliate?
Debtor Relationship to you 3
z
District When Case number, if known :
iviivi / DD /YYYY
11- D° _y°u rent Your E/No. Go to line 12. §
res'den°e? |:l Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence? §

Oflicial Form 101

Cl No. en to line 12.

|:l Yes. Fil| out lnitia/ StatementAbout an Eviction JudgmentAgainst You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

 

@tiliitiline 50\/\€5 Hi<ul lien

Middle Name

Case 1-18-46388-nh|

Fiist Name

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Case number iiriinown)
Last Name

m Report About Any Businessg/s/You own as a Sole Proprietor

g

 

§.12 Are you a sole proprietor .BGO to pan 4_

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individualI and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

|f you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition,

m Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZlP Code

Check the appropriate box to describe your business.'

a Hea|th Care Business (as denned in 11 U.S.C. § 101(27A))
m Sing|e Asset Rea| Estate (as denned in 11 U.S.C. § 101(51B))
m Stockbroker (as denned in 11 U.S.C. § 101(53A))

m Commodity Broker (as defined in 11 U.S.C. § 101(6))

m None of the above

 

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a dennition of small

business debtor. see
11 U.S.C. § 101(51D).

 

n No.

lf you are filing under Chapter11, the court must know Whether you are a small business debtor so that it
can set appropriate deadlines |fyou indicate that you are a small business debtor, you must attach your
most re iit balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

hese documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. l am not filing under Chapter 11.

l am H|ing under Chapter11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

m Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the

Bankruptcy Code.

m Report if You Own or Have/Any Hazardous Property or Any Property That Needs immediate Attention

§
j 14. Do you own or have any Q{O

 

property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Ofticia| Form 101

n Yes.

What is the hazard?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

 

 

 

 

Number Street
City State ZlP Code
Voluntary Petition for individuals Filing for Bankruptcy page 4

 

 

m Explain Your Efforts to Receive a Briefing About Credit Counseling

Case 1-18-46388-nh|

1
x

eeeeeeeOi§fMHi'Ne :§<ivie; liin /)M

l-'irsi Name Middie Name

Last Name

l e

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[:"‘i“`.=,"e"reii_t`r\e court whether
~ee.e;,;y!§)u have received a

briefing about credit
counseHng.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. |f you
cannot do so, you are not
eligible to fi|e.

|f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officia| Form 101

About Debtor1: , §

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
Uywh if any, that you developed with the agency.

l received a briefing from an approved credit

counseling agency within the 180 days before l

filed this bankruptcy petition, but l do not have a
certificate of completion.

V\/ithin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment

l pl nc}':any.
@:|/certiézthat | asked for credit counseling

‘- ’ ervices from an approved agency, but was
§nable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement. attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lfthe court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fi|e.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |fyou do not do so, your case
may be dismissed.

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

m l arn not required to receive a briefing about
credit counseling because of:

m |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

m Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

m Active duty. l am currently on active military

duty in a military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any. that you developed with the agency.

m | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but| do not have a
certificate of completion.

V\/ithin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

m | certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

m l am not required to receive a briefing about
credit counseling because of:

m lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

m Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in personl by phone, or
through the internet, even afterl

reasonably tried to do so.

m Active duty. l am currently on active military

duty in a military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

§
§

 

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@Wftltti l\i@ …AN 091/t

Middle Name Lasl Name

Case number iiri<newn)

 

" _ Answer These Questions for Reportillng Puirposes

 

16a. Are your debts primarily consumer debts? Corisumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

m . Go to line 16b.
Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
gyper a business or investment or through the operation of the business or investment
N

o. Go to line 160.
m Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under , ,
' No. l am not tiling under Chapter 7. Go to line 18.

Chapter 7'7 m
Do you estimate that after EY/es l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors'?

excluded and _ [] No
administrative expenses b
are paid that funds will be 5 Y€S

available for distribution
,_to unsecured creditors?,

 

is. l-low many creditors do 149 El 1.000*5,000 l;§ 25.001-50.000
you estimate ith you E_i 50-99 E] 5,001-10;000 Cl 50,001-100,000
°W@? Cl 100-199 U, 10,001-25,000 El Moreihan 100,000
L_.t 200-sss

 

19. How much do you
estimate your assets to
be worth?

d$O-$So.ooo

Ei $50,001-$100,000
13 3100,001-$500,000
LJ $500,001-$1 million

E! $1.000,001-$10 million

EJ $10,000§001-$50 million
U $50,000,001-$100 million
ill s100,000,001-$500 million

C_i $500,000,001-$1 billion

tit $`1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
U ivlore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

  

5 Sign Be|ow `

Ei $o-$so.ooo

El $50,001-$100,000
s100,001-$500,000
$500,001-$1 million

§ $1.000,001-$10 million

U $10,000,001$50 million
U $50,000,001-$100 million
L`..l $100,000,001-$500 million

ill $500,000,001-$1 billion

El $1,000,000,001~$10 billion
El $10,000,000,001-$50 billion
E! i\/lore than ssa billion

 

l have.examined this petitionl and | declare under penalty of perjury that the information provided is true and
F°" you correct.

lfl have chosen to file under Chapter 7 l am aware that l may proceed, if eligible, under Chapter 7, 11 12, or 13
of title 11 United States Code, l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 'U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case result in fines up to $250,000, or imprisonment for up to 20 years, or both.

1519,8nd3571.
W//¢A/ / x W

Signature ot/Debtor 1 Sigr‘iatur(e of Debtor 2

  

 

Executed on Executed on

ivl/ i:)/YYvY' MM/DD/YYW

Official Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 6

 

First Name Middle Name

r;… .s..; _. b.,- .,.-;..;~;/”J mm ... ..~. ,~.»

; For you if you are filing this
§ bankruptcy without an
§ attorney

§ lf you are represented by
§ an attorney, you do not
.j need to file this page.

 

Case 1-18-46388-nh|

Debtor 16 @M H(r]/\ Q/ 30 h C 5 M\f/)(;yk/ Case number (i'rknawni

v r~v_.g?;,~wm~mm, .

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Last Name

 

`,.,,~,,..._~. ..y........ ..t, nw e~..-_..

The law allows you, as an individuall to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successfu|, you must correctly file and handle your bankruptcy case. The rules are very
technicall and a mistake or inaction may affect your rights. For examplel your case may be
dismissed because you did not file a required documentl pay a fee on timel attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trusteel bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happensl you could lose your right to tile another
case, or you may lose protectionsl including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcyl you must list that debt
in your schedules. lf you do not list a debt, the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. lndividual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthfu|, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney. the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successfull you must be familiar with the United States Bankruptcy Codel the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is fl|ed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

0 No

es

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

El No /

eve

No

El Yes. Name of Person
Attach Bankruptcy Petition Preparefs Notice, Dec/arafion, and Signature (Ofticial Form 119)

ugd/y€u pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

 

By signing here. l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this noticel and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

X X d//,//@ X

Ofticial Form 101

éignature of Deb@/

Date

Signature of Debtor 2

  

Date
MM/ DD /YYYY

Contact phone Contact phone

 

Cell phone Cell phone

 

Emai| address Emai| address

 

'Voluntary Petition for lndividuals Filing for Bankruptcy page B

K'»..l~, s …., ,~,-A, sr x .,;U~M_:,i A, .,A,p;_'.v,,“…. ,,nm,rw:z.,

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

www.llveb.uscourts.vov

 

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

I')'“‘,‘F`Tf()fi§(:$): C%MLi.//lt(p /4£71£/€/¢/) C/OVE’<Y CASE No.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any Other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

   

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 ifthe earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined irl 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

§§ NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
°§| THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE_ NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [Ifclosea'] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, contirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

0 SCHEDULE A/B`: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

0 SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B ~ NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YEs/NO)= ilfelosed] Date or Closing=

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, contirmed, dismissed, etc.

 

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

v SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

0 SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

 

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' [ovER]
DISCLOSURE OF RELATED CASES (cont’d)

CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, coni`lrmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B _ PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to i`11e a statement in support of his/her eligibility to i`11e.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.

Signature of Debtor’s Attorney Signature QA’ro- s-e Debtor/Petitioner

%SA/&/J/obw

lMailing Address of Debtor/Petitioner

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§it j, State, Z1p Code/
l

;/S/lésm/V$AW@%

Email Address

l /5¢/75;:;@ %;/

far ea Code and Telephone Numberl

 

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

 

 

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UNITED STATES BANKRUPTCY COURT'
EASTERN DISTRICT OF NEW YORK

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Debtor(s)

 

 

X

DECLARATION OF PRO SE DEBTOMS)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): W z / §AM MM (£L.Q/ WCJ£"I <S%

Wl../"z`

Address; (/W‘“ §§mv/+~S /17 7 Zé
Email Address‘

Phone Numbe; </… 153 /\/&.) gm /Q€ M¢»Mj//Zv
CHECK THE APPROPRIATE RE PONSES. 9{752&(”{3?/

FILING FEE:
PAID THE FILING FEE IN FULL
__APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

 

 

PREVIOUS CASES FILED: l. 2. 3.

ASSISTANCE WITH PAPERWORK:
ja NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
__ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

lf Debtor had assistance, the following information must be completed:
d Name of individual who assisted:
Address:
Phone Number: L )

Amount Paid for Assistance:

 

 

 

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l/We hereby declare the information above under the penalty of perjury.

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Joint Debtor’s Signature

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

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Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge

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Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rev. 11/15

 

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Creditors

NationStar Mortgage/ Mr Cooperr
P.O, Box 619063
Dallas TX 75261-9063

